




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-03-00045-CR


NO. 12-03-00046-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MILDRED RUSSELL,§
	APPEAL FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






	MEMORANDUM OPINION


PER CURIAM


	Appellant has filed a motion to withdraw her notice of appeal.  The motion is signed by
Appellant and her counsel.  No decision having been delivered by this court, the motion is granted,
and the appeal is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered April 9, 2003.

Panel consisted of Worthen, C.J. and Griffith, J.






(DO NOT PUBLISH)


